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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA


                           Alexandria Division




RICHARD HUDSON,


                 Plaintiff,
                                        Civil Action No. l:17-cv-1462
V.



SRA INTERNATIONAL, INC.
AND
CRSA, INC.,
                 Defendants




                            MEMORANDUM OPINION



      THIS MATTER comes before the Court on Defendants' Motion for


Summary Judgement.

      This case arises from Plaintiff Richard Hudson's termination


from his employment at SRA International, Inc. ("SRA") on October

1, 2015. SRA is the predecessor of CSRA Inc. ("CSRA"), a company

that provides information technology ("IT") services to

governmental clients in national security, government, and public

health areas. From July 2004 until October 2015, Hudson worked for

SRA as a Network Engineer supporting the Army National Guard

("ARNG") on the Enterprise Operations Security Service ("EOSS")

contract. Hudson received training on SRA's Business Ethics and

Code of Conduct, which included training related to avoidance of

conflicts of interest.
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